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                      IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF DELAWARE

  KURT MORALES II, BRANDON                          Case No.: 20-cv-01376-RGA
  CALLIER, LUCAS HORTON, individually,
  and on behalf of all others similarly situated,   Jury Trial Demanded
                 Plaintiffs,
                                                    [PROPOSED] FOURTH AMENDED
         v.                                         CLASS ACTION COMPLAINT
  SUNPATH LTD., a Delaware corporation,
  NORTHCOAST WARRANTY SERVICES,
  INC., a Delaware corporation, AMTRUST
  NORTH AMERICA, INC., a Delaware
  corporation, SING FOR SERVICE, LLC, a
  Delaware limited liability company, and
  PELICAN INVESTMENT HOLDINGS
  GROUP LLC, a Delaware limited liability
  company,

                 Defendants.

         Plaintiffs KURT MORALES II, BRANDON CALLIER, and LUCAS HORTON

 (“Plaintiffs”) bring this Fourth Amended Class Action Complaint against Defendants SUNPATH

 LTD.    (“Sunpath”),    NORTHCOAST          WARRANTY      SERVICES,      INC.   (“Northcoast”),

 AMTRUST NORTH AMERICA, INC. (“Amtrust”), SING FOR SERVICE, LLC (“Mepco”), and

 PELICAN INVESTMENT HOLDINGS GROUP LLC (“AAP”) (collectively, “Defendants”) to

 put a stop to their unlawful advertising and telemarketing of vehicle service contracts (“VSCs”)

 using unsolicited automated calls in violation of the Telephone Consumer Protection Act

 (“TCPA”), 47 U.S.C. § 227, et seq., and its regulations, 47 C.F.R § 64.1200, et seq., and Texas

 statutes regulating telephone marketing, and to obtain redress for all persons injured by

 Defendants’ conduct. Plaintiffs allege as follows upon personal knowledge as to their acts and

 experiences, and, as to all other matters, upon information and belief, including investigation

 conducted by their attorneys.
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                                   NATURE OF THE ACTION
        1.      Defendants make unsolicited and unauthorized phone calls to consumers using

 false and misleading statements and artificial or prerecorded voice messages to sell VSCs.

        2.      Defendants did not and do not obtain prior express written consent to make these

 advertising and telemarketing calls and, therefore, have violated and continue to violate the TCPA,

 and its regulations, prohibiting phone calls using artificial or prerecorded voices, and phone calls

 to numbers listed on the Do-Not-Call registry.

        3.      Congress enacted the TCPA in 1991 to restrict the use of sophisticated

 telemarketing equipment that could target millions of consumers en masse. Congress found that

 these calls were not only a nuisance and an invasion of privacy to consumers specifically but were

 also a threat to interstate commerce generally. See S. Rep. No. 102-178, at 2–3 (1991), as reprinted

 in 1991 U.S.C.C.A.N. 1968, 1969-71.

        4.      The TCPA targets unauthorized calls exactly like the ones Defendants made in this

 case, based on Defendants’ use of technological equipment to spam consumers on a grand scale.

        5.      Robocalls are “the scourge of modern civilization. They wake us up in the morning;

 they interrupt our dinner at night; they force the sick and elderly out of bed; they hound us until

 we want to rip the telephone right out of the wall.” Barr v. Am. Ass’n of Political Consultants, Inc.,

 140 S. Ct. 2335, 2344 (2020) (citing 137 Cong. Rec. 30821 (1991)).

        6.      By causing the calls at issue, Defendants have violated the privacy and statutory

 rights of Plaintiffs and Class members.

        7.      Plaintiffs, individually and on behalf of Classes of all others similarly situated, seek

 damages and an injunction requiring Defendants to stop their unlawful calling practices.

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                                             PARTIES
         8.     Kurt Morales (“Morales”) is a natural person and citizen of Carrollton, Texas.

         9.     Brandon Callier (“Callier”) is a natural person and citizen of El Paso, Texas.

         10.    Lucas Horton (“Horton”) is a natural person and citizen of Richardson, Texas.

         11.    Sunpath is a corporation organized and existing under the laws of the state of

 Delaware with its principal place of business at 50 Braintree Hill Park #310, Braintree,

 Massachusetts.

         12.    Northcoast is a corporation organized and existing under the laws of the state of

 Delaware with its principal place of business at 800 Superior Ave. East, 21st Floor, Cleveland,

 Ohio.

         13.    Amtrust is a corporation organized and existing under the laws of the state of

 Delaware with its principal place of business at 59 Maiden Lane, New York, New York.

         14.    Mepco is a limited liability company organized and existing under the laws of the

 state of Delaware with its principal place of business at 205 N. Michigan Avenue, Chicago, Illinois.

         15.    AAP is a limited liability company organized and existing under the laws of the

 state of Delaware with its principal place of business at 1300 North Congress Avenue, West Palm

 Beach, Florida.

                                  JURISDICTION AND VENUE

         16.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331, because the case

 arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227.

         17.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) because each

 Defendant resides in this District.




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                             COMMON FACTUAL ALLEGATIONS

        18.     Defendants employ outrageous, aggressive, and illegal sales techniques that violate

 multiple federal laws and state consumer protection statutes.

        19.     Defendants and their agents and co-conspirators amassed lists of thousands of

 vehicle owners from public records, vehicle sales and registration records, and data aggregators

 and then sent phone calls using artificial or prerecorded voice messages en masse to market their

 VSCs, in violation of the TCPA.

        20.     Plaintiffs and Class members received phone calls or answered their phones and

 heard the artificial or prerecorded voice message.

        21.     The artificial or prerecorded voice misinforms the listeners, falsely stating that their

 manufacturer’s auto warranty is about to expire.

        22.     After consumers responded to the automated voice, Defendants falsely solicited

 them to “extend” their manufacturer’s auto warranty.

        23.     Although VSCs are expensive (approximately $4,000) and can be financed over

 three to five years, they are not actually warranties, nor do they “extend” the manufacturer’s

 warranty.

        24.     Defendants participated in, facilitated, directed, authorized, knew of, or willfully

 ignored the false and misleading sales practices and unlawful robocalling, while knowing facts

 that required a reasonable person to investigate further, and approved, and ratified the conduct of

 their employees, agents, and co-conspirators to engaged in the false and misleading sales practices

 and unlawful robocalling.

        25.     Defendants’ unlawful behavior alleged herein has a well-documented history. As

 the Attorney General of Ohio has recently alleged in a case brought against numerous auto


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 warranty robocallers, which Plaintiffs believe may be connected to Defendants, Defendants

 “engage[] in a complex robocall lead generation scheme designed to conceal both who is

 responsible for the generation of hundreds of millions of robocalls, as well as how money flows.”

 Introduction to Compl. Ohio ex rel. Yost v. Jones, et al., Case No. 2:22-cv-2700 (S.D. Ohio, filed

 July 7, 2022) (ECF No. 1). Mr. Gustav Renny (“Renny”) adds to the confusion by falsely

 associating with other companies, such as Carguard, and using fictitious names, such as “AAP,”

 in connection with numerous legal entities. See Carguard Admin. Inc. v. Nat’l Admin. Serv. Co.,

 LLC, Case No. 2:21-cv-01037-SMB (D. Ariz., filed June 14, 2021).

        26.     AAP is one iteration of Renny’s vast and enduring unlawful robocalling operation.

 AAP has many predecessors, affiliates, and entities in which assets, operations, and liabilities are

 intermingled, and Renny has a long history of abusing state corporation laws and business

 organization laws to avoid liability, conceal the breadth and scope of the conduct at issue, and

 continue the TCPA violations. All of AAP’s predecessors were controlled and operated by Renny.

        27.     On May 23, 2018, Defendants’ authorized reseller, National Auto Protection Corp.

 (“NAPC”), a Renny entity, agreed to pay $10,000 to the Kansas Attorney General to settle claims

 that it violated the Kansas analog to the TCPA.

        28.     On June 6, 2019, a class action lawsuit was filed by Catherine Shanahan against

 NAPC alleging violations of the TCPA. During the lawsuit, NAPC dissolved and did not answer

 the complaint. NAPC’s dissolution document was signed by Renny on September 6, 2019.

        29.     On March 18, 2020, a class action lawsuit was filed by Nathen Day against National

 Car Cure (“NCC”) alleging violations of the TCPA. During the lawsuit, NCC filed an answer,

 admitting it was an authorized sales agent of Matrix, another VSC administrator and former

 defendant in this case.


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        30.    NCC and NAPC are controlled by Renny. When Renny dissolved NAPC, he

 transferred NAPC’s business assets to NCC. NCC used and continues to use accounts, assets (such

 as websites and lists of contact information), and employees of NAPC. One such asset is the

 website policy-hub.com, which contains a link to a Leadspedia account in the name of “National

 Auto,” which was active and remained active after NAPC’s dissolution.

        31.    Affordable Car Cure, Inc. (“ACC”) is another company owned and controlled by

 Renny. Like NCC and NAPC, ACC and AAP also place unsolicited robocalls in violation of the

 TCPA on behalf, at the behest, and with the knowledge of Defendants.

        32.    Renny formed Affordable Auto Protection LLC either to run interference for the

 true entity doing business as AAP––Pelican Investment Holdings Group LLC––or to share the use

 of AAP as a fictitious name. Renny’s signature appears on a Florida Application for Registration

 of Fictitious Name for AAP owned by Pelican Investment Holdings Group, LLC, with a listed

 address of 1300 N. Congress Avenue, West Palm Beach, Florida. This same building holds offices

 for NCC, ACC, and AAP, as well as entities named Renny Insurance Group LLC, GR Investment

 Group LLC, National Payment Protection Corp., and Affordable Care Cure, Inc.

        33.    On October 12, 2019, a class action lawsuit was filed by Dennis Born against Celtic

 Marketing LLC (“Celtic”), Sunpath, and Northcoast alleging violations of the TCPA. During the

 lawsuit, Celtic filed an answer and admitted that it was authorized to sell VSCs of Sunpath and

 Northcoast.

        34.    Since the initiation of this lawsuit, substantially more lawsuits and complaints have

 been lodged and filed against Defendants, Renny, and Renny’s companies. See, e.g., Auto Armor

 Specialist, et al. v Pelican Investment Holdings, LLC, Case No. 9:21-cv-81993-RS (S.D. Fla. Filed

 Oct. 28, 2021); Pavelka, et al. v. Pelican Investment Holdings Group, LLC, et al., Case No. 3:22-


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 cv-74-B (N.D. Tex. Filed Apr. 16, 2022); Auguston v. Nat’l Admin. Serv. Co., LLC, et al., Case

 No. 4:21-cv-00819-ALM-KPJ (E.D. Tex. Filed Apr. 14, 2022); Salaiz v. Pelican Investment

 Holdings Grp. LLC, Case No. 3:22-cv-00029-FM (W.D. Tex. Filed Apr. 6, 2022); Carguard

 Admin. Inc. v. Nat’l Admin. Serv. Co., LLC, Case No. 2:21-cv-01037-SMB (D. Ariz. Filed June

 14, 2021); Cano v. Assured Auto Grp., Case No. 3:20-cv-03501-G (N.D. Tex. Filed June 29, 2022).

        35.     Defendants have knowledge of and have adopted and maintained TCPA violations

 as a sales strategy. This is amply supported by the complaints Defendants receive that are available

 from the Better Business Bureau (“BBB”). The full scale of the complaints Defendants received

 is not currently available to Plaintiffs but will be revealed through discovery to amplify what is

 shown below.

        36.     For example, BBB posts the following reviews from customers of

 Sunpath/Northcoast products, and Sunpath and Northcoast have knowledge of the complaints:

                •   STOP CALLING, Aug. 13, 2020: They call us about 2 times a day! We have
                    repeatedly (for many months now) asked to be put on DO NOT CALL list
                    however they never stop calling! They use fake phone numbers on caller ID and
                    when you try to call that number back, it’s been disconnected. At the top of
                    their BBB page it says they use THIRD PARTY sellers of their products - so
                    that is the way they are getting around the Do Not Call laws and how they can
                    say “they” don’t make unsolicited calls. Ever. “They” aren’t making the
                    unsolicited calls but the people they hire or pay commissions to are doing it on
                    “their” behalf. So they are “hiring” people to harass consumers and break the
                    Do Not Call laws. That in itself should be illegal. When we asked the lady who
                    called today what the name of her company was, where she was located and
                    where we could access company info online, she said Sunpath, Florida and
                    gosunpath.com. Why didn’t she give her third party company name??? She was
                    a representive of Sunpath, period. I am going to encourage everyone to come to
                    this BBB review site and post about this ‘scheme’ when they get the
                    UNSOLICITED calls from Sunpath, Ltd.! Let’s get this stopped!

                •   Anonymous, July 4, 2020: I, *****, am Power of Attorney for *****. I am
                    filing this complaint on *****'s behalf. It’s regarding Contract # *********.
                    This company along with another company just like them have been charging
                    *****'s account for a vehicle protection plan. I also plan to file a complaint
                    against them too. The books look the same: "Ultimate Auto Protection". *****

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                    is older and has ***********, does not drive anymore, thus no car on the road.
                    Anyone who talks to her would realize in no time she is not of sound mind. Yet
                    these people have managed to call her and trick her out of her card information
                    for a warranty in which she doesn’t need. Deceptive Practices. They started
                    charging her account and have been charging $188.39 a month. ***** never
                    signed a contract with them and never signed a credit card direct pay
                    authorization form with them. They have no right to be charging her. In order
                    to enter into a contract a person has to be of sound mind, right? That's law 101.
                    As I said before anyone who talks with her for any length of time would see she
                    has memory problems. They have taken advantage and its an expensive
                    advantage. I would think this would also fall as Elder Abuse. These sales people
                    just continue to badger you with phone calls. Note: I tried to call Sunpath
                    Funding at ************ and it puts me on hold with hold music for 30
                    seconds and then disconnects. Even that is suspicious.

                •   John TG, June 15, 2020: I have been getting unsolicited calls regarding car
                    warranties every 2-3 days for several months now in spite of constantly asking
                    to be removed from their list. I finally agreed to talk to an agent to see where
                    this harassment was coming from. I ended up speaking with someone who said
                    they were with *** ****** and they quoted me a warranty from SunPath. I see
                    no evidence that a *** ****** exists, so I’m putting this on SunPath. SunPath
                    - you either knowingly or negligently sell your products using criminal third
                    parties. This is your problem and your responsibility to fix.

                •   Anonymous, June 9, 2020: Robocalling me a lot.

                •   Alec B, June 3, 2020: They use a call forwarding service to call you from
                    numbers that are in your area code. They then pass you off and threaten to close
                    your account if you don’t purchase today. Ultimately hanging up on you if you
                    don’t pass (sic).

                •   Anonymous, April 6, 2020: SunPath Ltd has contacted my cellphone for
                    marketing purposes. My phone has been on the national Do Not Call registry
                    for many years and this company should not have contacted me.

        37.     Despite receiving a significant number of consumer complaints and lawsuits, and

 despite having knowledge of facts that led other VSC administrators to refuse to do business with

 Renny based on an understanding that Renny was engaged in robocalling (see, e.g., Carguard

 Second Am. Compl. ¶ 48, Case No. 2:21-cv-01037-SMB (ECF No. 46 Sept. 15, 2021)),

 Defendants refuse to take any action to stop or curtail the unlawful sales practices and robocalling

 because these practices benefit Defendants.

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        38.     Defendants employ the use of numerous third parties to assist them in making the

 robocalls at issue, in addition to Celtic Marketing and Renny’s entities. In fact, Defendants have

 submitted declarations in court that state “[v]arious telemarketing companies have sought

 permission by contract to market the policies that Sunpath administers.” See, e.g., Born v. Celtic

 Marketing LLC, No. 8:19-cv-01950-JLS-ADS, ECF Nos. 49-2, 49-3. And, in response to BBB

 complaints, Defendants repeatedly refer to numerous “third party independent contract vendors.”

 https://www.bbb.org/us/ma/braintree/profile/auto-warranty-plans/sunpath-ltd-0021-

 133715/complaints.

        39.     Amtrust and its wholly owned subsidiary, Northcoast, appointed Sunpath as an

 administrator of its VSCs. Sunpath is designated by Amtrust and Northcoast to procure the services

 of VSC sellers to sell the VSCs subject to guidelines directed by Amtrust. Mepco provides

 financing for VSCs purchased by consumers under installment plans.

        40.     Defendants signed contracts and agreed to enter into relationships with each other

 and with call placement vendors, expressly or impliedly authorizing, instructing, and permitting

 the call placement vendors to promote their VSCs in accordance with specifications and practices

 largely designed, dictated, and overseen by Sunpath, Amtrust, Northcoast, and Mepco, including

 the use of sales practices that violate the TCPA and state laws regulating telemarketers and their

 practices.

        41.     Defendants had control over the list of persons to call, the timing, frequency, and

 manner of calls, and the contents of the calls, including the terms for VSC sales. Defendants

 reviewed and oversaw the activities of their call placement vendors, such as AAP and the other

 persons who called Plaintiffs and Class members, and provided interim feedback and instructions

 throughout the course of their relationship to increase sales of VSCs and retention of VSC


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  purchasers, and also to settle accounts and distribute the proceeds from the unlawful calling

  practices.

         42.     In addition, Sunpath, Northcoast, Amtrust, and Mepco directed and controlled the

  conduct of the call placement vendors and VSC sellers, including AAP, and established and

  enforced guidelines and specifications for their activities and conduct on Sunpath’s, Northcoast’s,

  Amtrust’s, and Mepco’s behalf.

         43.     Sunpath, Northcoast, Amtrust, and Mepco retained rights to give interim

  instructions, modify, amend, or withdraw the authority of the call placement vendors, and

  compensated the call placement vendors for their unlawful phone calls, all while knowing that the

  call placement vendors engaged in conduct that violated the TCPA and state law.

         44.     The integration of Defendants’ operations was seamless and complete. The call

  placement vendors offered VSCs to Plaintiffs and Class members while exchanging and receiving

  data in real time with Sunpath, Northcoast, Amtrust, and Mepco regarding vehicle information,

  VSC pricing, and coverage options, among other things. Purchasers agreeing to installment

  payment plans (called “Payment Plan Agreements”) paid down payment money to Mepco, who

  advanced the full purchase price to VSC sellers, like AAP, who then compensated the call

  placement vendors and Sunpath, Northcoast, and Amtrust. Defendants shared information in real

  time, processed purchases of VSCs in coordination with one another, and sent money to and from

  each other in batches using systems that they shared. Defendants allowed the call placement

  vendors to use their trademarks, names, proprietary databases, and contract forms during the phone

  calls to Plaintiffs and Class members and in follow up communications with purchasers.

         45.     Mepco contracts with VSC sellers, such as AAP, to handle payment collection and

  to fund the purchase and coverage of VSCs. Pursuant to “Dealer Agreements” with VSC sellers,


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  Mepco funds the full price of a VSC to the VSC seller and funds the VSC administrator for the

  coverage cost of the VSC. 1 Mepco deals directly with the purchasers under the Payment Plan

  Agreements, and handles payment disputes, collections, and cancelation requests.

         46.     Defendants knowingly and actively accepted the volume of contacts and business

  that was generated by their call placement vendors through unlawful practices, thereby ratifying

  the callers’ conduct.

         47.     Defendants have received numerous complaints and other information regarding

  the unlawful conduct of the persons who place phone calls on their behalf, but Defendants refuse

  to take action to curb their rampant violations of the law. Instead, Defendants accept and retain the

  benefits of the callers’ unlawful conduct while knowing the facts or willfully turning a blind eye

  to facts that would cause an ordinarily prudent person to inquire as to whether the callers were

  violating the TCPA.

                                       Plaintiff Kurt Morales II

         48.     Morales received dozens of phone calls using an artificial or prerecorded voice

  advertising extended auto warranties between January 2017 and March 2020, which necessarily

  included two or more calls within a twelve-month period.

         49.     On March 4, 2020, at 4:06 PM, Morales was called on his cell phone number ending

  in 2227 from the phone number displayed as 702-351-3030.

         50.     When Morales answered the phone, he heard an artificial or prerecorded voice

  message.




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    Plaintiffs’ allegations regarding the relationship between Mepco, Sunpath, and VSC sellers is
  based on information and belief, and the allegations in the amended complaint in 18W Holdings,
  Inc. v. Sing for Service, LLC d/b/a/ Mepco, Case No. 2:20-cv-15007 (D.N.J. 2022).
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         51.     The voice said: “We have an important update about your vehicle. Your car’s

  extended warranty is set to expire. We have tried to reach you by mail about this issue, and since

  we have not heard from you, we are giving you one final courtesy call before we close your file.

  At this time your car would be without coverage and you would be responsible for all repairs on

  your vehicle. If you wish to decline coverage and be added to our do not call list, press 2 now, or

  press 1 if you would like to extend or reinstate your car’s warranty.”

         52.     The artificial or prerecorded message received by Morales was substantially similar

  to the message set forth in paragraph 44 of a recently-filed case in Ohio against numerous call

  placement vendors (see Yost ex rel. Ohio v. Jones, et al., Case No. 2:22-cv-2700 (S.D. Ohio, filed

  July 7, 2022) (ECF No. 1)), which stated:

                 This is an urgent message for the vehicle owner. We have been trying to
                 reach you about your car’s extended warranty. You should have received
                 something in the mail about your car’s extended warranty. Since we have
                 not gotten a response, we are giving you a final courtesy call before we close
                 out your file. Press two to be removed and be placed on our do not call list,
                 press one to speak with someone about possibly extending or reinstating
                 your car’s warranty. Press one to speak with a warranty specialist.

         53.     Morales pressed one and was connected with a live agent identifying herself as

  “Jasmine” who solicited him for a VSC.

         54.     Jasmine stated that Morales would receive “Diamond Coverage.”

         55.     “Diamond Coverage” is a trademark used by Sunpath.

         56.     Morales purchased a VSC from NCC, Sunpath and Northcoast.

         57.     Morales’ cell phone number ending in 2227 has been on the National Do Not Call

  Registry since December 15, 2008.




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                                      Plaintiff Brandon Callier

          58.    From November 2019 to June 2022, Callier received at least ten phone calls to his

  cell phone number ending in 4604 that played an artificial or prerecorded voice message

  advertising auto warranties.

          59.    Callier received at least the following calls:

                      Date                       Time                     From

            November 19, 2019                           10:25 AM   915-383-5556

            November 21, 2019                           12:46 PM   915-383-1254

            December 11, 2019                            3:47 PM   915-383-2503

            December 16, 2019                            2:28 PM   915-383-4610

            December 18, 2019                           11:14 AM   915-383-1861

            December 18, 2019                           8:33 AM    915-383-4742

            December 19, 2019                            1:11 PM   915-383-5469

            December 21, 2019                            3:50 PM   317-527-9965

            January 6, 2020                             10:52 AM   407-272-8548

            January 21, 2020                            12:59 PM   915-383-5130


          60.    The calls from the (915) area code were spoofed and from falsified area codes in

  order to trick Callier into answering more frequently because people are more likely to answer a

  phone call from a number that appears to be local rather than one from an unrecognizable area

  code.

          61.    On December 21, 2019, Callier answered his phone and heard an artificial or

  prerecorded voice advertising auto warranties.



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         62.       Callier responded to the voice prompts and was solicited for a vehicle service

  contract from NCC, Sunpath, and Northcoast.

         63.       There was only a short reprieve from robocalling before Callier began receiving

  robocalls from a sales agent of Sunpath and Northcoast.

         64.       In February 2020, Callier received at least twelve (12) phone calls to his cell phone

  number ending in 4604 that played artificial or prerecorded voice messages advertising auto

  warranties.

         65.       Callier received the following calls from the same number:

                         Date                      Time                      From

                February 3, 2020                         12:47 PM    203-303-9394

                February 6, 2020                          2:17 PM    203-303-9394

                February 7, 2020                         9:13 AM     203-303-9394

                February 7, 2020                         10:05 AM    203-303-9394

                February 7, 2020                         12:22 PM    203-303-9394

                February 11, 2020                        9:54 AM     203-303-9394

                February 12, 2020                        12:41 PM    203-303-9394

                February 12, 2020                         1:27 PM    203-303-9394

                February 13, 2020                        9:34 AM     203-303-9394

                February 13, 2020                        11:31 AM    203-303-9394

                February 13, 2020                         1:11 PM    203-303-9394


         66.       On February 20, 2020, Callier received a phone call that played an artificial or

  prerecorded voice message. Callier listened to the message and purchased a VSC from the caller,

  resulting in a VSC with Sunpath and Northcoast.
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          67.     In October 2021, Callier received at least three (3) phone calls that played an

  artificial or prerecorded voice message saying “your auto warranty has expired. Press one to speak

  with someone about renewing your auto warranty.”

          68.     On October 5, 2021, Callier received a phone call that played an artificial or

  prerecorded voice message. Callier listened to the message and purchased a VSC from the caller,

  resulting in a VSC with AAP, Sunpath, and Mepco.

          69.     Callier’s cell phone number ending in 4604 has been registered on the National Do

  Not Call Registry since December 13, 2007.

                                         Plaintiff Lucas Horton

          70.     Horton received at least six (6) phone calls to his cell phone number ending in 3341

  that played artificial or prerecorded voice messages advertising auto warranties, despite being

  registered on the federal do not call list.

          71.     When he answered the calls, the artificial or prerecorded voice messages told him

  that his auto warranty was about to expire and to “press 1.”

          72.     Horton received at least the following calls:

                                      Date                        From

                           February 10, 2020            214-909-7485

                           April 6, 2020                214-909-4406

                           April 11, 2020               214-909-9289

                           April 29, 2020               214-909-6654

                           April 30, 2020               214-909-5125

                           May 11, 2020                 214-909-7902




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         73.     On April 29, 2020, Horton received a phone call that played an artificial or

  prerecorded voice message. Horton listened to the message and purchased a Sunpath Horizon

  Diamond New 60 Month Plan from the caller, resulting in a VSC with VAD d/b/a Celtic Marketing

  LLC, Sunpath and Northcoast.

         74.     Horton’s cell phone number ending in 3341 has been registered on the National Do

  Not Call Registry since December 13, 2011.

                             FACTS COMMON TO ALL PLAINTIFFS

         75.     Plaintiffs never consented to receive the calls alleged herein. Plaintiffs had no

  relationship with Defendants prior to the calls alleged herein.

         76.     Defendants advertised their products by falsely informing the consumer that their

  warranty had expired and that Defendants’ product would “extend” the original auto

  manufacturer’s warranty coverage. The VSCs are not auto warranty extensions and do not provide

  auto warranty coverage. The VSCs are also with parties other than the original manufacturer of

  the vehicle and warrantors.

         77.     The calls conveyed a false association with the dealerships that sold Plaintiffs their

  vehicles. For example, the callers’ artificial or prerecorded voice messages stated that they were

  with the warranty department or dealer processing. In reality, Defendants are not employees of the

  dealerships or affiliated with the dealerships that sold Plaintiffs their vehicles.

         78.     Defendants falsely convey or imply that there is a prior relationship with Plaintiffs;

  falsely claiming that Plaintiffs were called or sent mail previously by Defendants when they were

  not.

         79.     Defendants failed to identify themselves as the callers and the person on whose

  behalf the calls were placed.


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         80.     Defendants’ calls violated Plaintiffs’ and the Class members’ statutory rights and

  caused actual damages, annoyance, intrusion on privacy and seclusion, and the waste of Plaintiffs’

  and Class members’ time and money in listening to the artificial or prerecorded voice messages

  and being forced to stay on the phone and purchase the VSCs for which they were solicited in

  order to identify the persons responsible for the robocalling.

         81.     In addition to incurring damages, Defendants have not ceased their unlawful

  conduct alleged herein, and it continues unabated.

                                      CLASS ALLEGATIONS

         82.     Class Definitions: Plaintiffs bring this action pursuant to Federal Rule of Civil

  Procedure 23(b)(2) and 23(b)(3) on behalf of Plaintiffs and the Classes defined as follows:

                 Sunpath Monetary Relief Class. All persons in the United States who: (1)
                 from October 9, 2016 to the present; (2) were sent at least one telephone
                 call; (3) on their cellular or residential telephone; (4) that used an artificial
                 or prerecorded voice message; (5) promoting Sunpath’s vehicle service
                 contracts.

                 Northcoast/Amtrust Monetary Relief Class. All persons in the United
                 States who: (1) from October 9, 2016 to the present; (2) were sent at least
                 one telephone call; (3) on their cellular or residential telephone; (4) that used
                 an artificial or prerecorded voice message; (5) promoting
                 Northcoast’s/Amtrust’s vehicle service contracts.

                 Mepco Monetary Relief Class. All persons in the United States who: (1)
                 from July 14, 2018 to the present; (2) were sent at least one telephone call;
                 (3) on their cellular or residential telephone; (4) that used an artificial or
                 prerecorded voice message; (5) promoting Mepco’s vehicle service
                 contracts.

                 AAP Monetary Relief Class. All persons in the United States who: (1)
                 from July 14, 2018 to the present; (2) were sent at least one telephone call;
                 (3) on their cellular or residential telephone; (4) that used an artificial or
                 prerecorded voice message; (5) promoting AAP’s vehicle service contracts.

                 Sunpath Injunctive Relief Class. All persons who did not give express
                 written consent prior to receiving calls advertising Sunpath’s vehicle
                 service contracts on their cellular or residential telephone numbers.

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             Northcoast/Amtrust Injunctive Relief Class. All persons who did not
             give express written consent prior to receiving calls advertising
             Northcoast’s/Amtrust’s vehicle service contracts on their cellular or
             residential telephone numbers.

             Mepco Injunctive Relief Class. All persons who did not give express
             written consent prior to receiving calls advertising Mepco’s vehicle service
             contracts on their cellular or residential telephone numbers.

             AAP Injunctive Relief Class. All persons who did not give express written
             consent prior to receiving calls advertising AAP’s vehicle service contracts
             on their cellular or residential telephone numbers.

             Sunpath Do Not Call Class. All persons in the United States who: (1) from
             October 9, 2016 to the present; (2) were called two or more times within a
             twelve month period by a person authorized to sell Sunpath vehicle service
             contracts without prior express written consent; (3) while their number was
             registered on the National Do Not Call Registry.

             Northcoast/Amtrust Do Not Call Class. All persons in the United States
             who: (1) from October 9, 2016 to the present; (2) were called two or more
             times within a twelve month period by a person authorized to sell
             Northcoast/Amtrust vehicle service contracts without prior express written
             consent; (3) while their number was registered on the National Do Not Call
             Registry.

             Mepco Do Not Call Class. All persons in the United States who: (1) from
             July 14, 2018 to the present; (2) were called two or more times within a
             twelve month period by a person authorized to sell Mepco vehicle service
             contracts without prior express written consent; (3) while their number was
             registered on the National Do Not Call Registry.

             AAP Do Not Call Class. All persons in the United States who: (1) from
             July 14, 2018 to the present; (2) were called two or more times within a
             twelve month period by a person authorized to sell AAP vehicle service
             contracts without prior express written consent; (3) while their number was
             registered on the National Do Not Call Registry.

             Sunpath Texas Subclass. All persons in Texas who: (1) from October 9,
             2016 to the present; (2) were called by a person authorized to sell Sunpath
             vehicle service contracts.

             Northcoast/Amtrust Texas Subclass. All persons in Texas who: (1) from
             October 9, 2016 to the present; (2) were called by a person authorized to
             sell Northcoast/Amtrust vehicle service contracts.

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                 Mepco Texas Subclass. All persons in Texas who: (1) from July 14, 2018
                 to the present; (2) were called by a person authorized to sell Mepco vehicle
                 service contracts.

                 AAP Texas Subclass. All persons in Texas who: (1) from July 14, 2018 to
                 the present; (2) were called by AAP; and (3) the purpose of the call was to
                 sell a VSC.

         83.     The following people are excluded from the Classes: (1) any Judge or Magistrate

  presiding over this action and members of their families; (2) Defendants, Defendants’ subsidiaries,

  parents, successors, predecessors, and any entity in which the Defendants or their parents have a

  controlling interest and its current or former employees, officers and directors; (3) persons who

  properly execute and file a timely request for exclusion from a respective Class; (4) persons whose

  claims in this matter have been finally adjudicated on the merits or otherwise released; (5)

  Plaintiffs’ counsel and Defendants’ counsel; and (6) the legal representatives, successors, and

  assigns of any such excluded persons.

         84.     Numerosity: The exact number of the Class members is unknown and not available

  to Plaintiffs, but it is clear that individual joinder is impracticable. On information and belief,

  Defendants placed telephone calls to thousands of consumers who fall into the definition of the

  Classes. For example, Defendants’ agent, Renny and his entities, place thousands of unsolicited

  robocalls in violation of the TCPA on Defendants’ behalf, and there are numerous BBB complaints

  against Defendants and their agents for unlawful robocalling. Members of the Classes can be

  identified through Defendants’ records.

         85.     Typicality: Plaintiffs’ claims are typical of the claims of other members of the

  Classes, in that Plaintiffs and the Class members sustained damages arising out of Defendants’

  uniform wrongful conduct and unsolicited telephone calls. All of the claims arise from the same

  course of conduct: the use of an artificial or prerecorded voice message to call cellular and

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  residential telephones without having obtained prior express written consent. Plaintiffs’ claims

  under the TCPA arise out of the same course of conduct, are based on the same legal theory, and

  resulted in the same injury as the Class’s claims.

          86.    Adequate Representation: Plaintiffs will fairly and adequately represent and

  protect the interests of the other members of the Classes. Plaintiffs’ claims are made in a

  representative capacity on behalf of the other members of the Classes. Plaintiffs have no interests

  antagonistic to the interests of the other members of the Classes and are subject to no unique

  defenses. Plaintiffs have retained competent counsel to prosecute the case on behalf of Plaintiffs

  and the Classes. Plaintiffs and their counsel are committed to vigorously prosecuting this action

  on behalf of the members of the Classes and have the financial resources to do so.

          87.    Policies Generally Applicable to the Class: This class action is appropriate for

  certification because Defendants have acted or refused to act on grounds generally applicable to

  the Classes as a whole, thereby requiring the Court’s imposition of uniform relief to ensure

  compatible standards of conduct toward the Class members and making final injunctive relief

  appropriate with respect to the Classes as a whole. Defendants’ practices challenged herein apply

  to and affect the Class members uniformly, and Plaintiffs’ challenge of those practices hinge on

  Defendants’ conduct with respect to the Classes as a whole, not on facts or law applicable only to

  Plaintiffs.

          88.    Commonality and Predominance: There are many questions of law and fact

  common to the claims of Plaintiffs and the Classes, and those questions predominate over any

  questions that may affect individual members of the Classes. Common questions for the Classes

  include, but are not necessarily limited to the following:

                 •   Whether Defendants are liable under the TCPA;


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                 •   Whether the calls were made using artificial or prerecorded voice messages;

                 •   Whether Defendants violated the Do-Not-Call prohibition of the TCPA;

                 •   Whether Defendants violated the requirement that they train personnel with

                     regard to the existence of the Do-Not-Call list, 47 C.F.R.§ 64.1200(d)(2);

                 •   Whether Defendants violated the identification requirements of 47 C.F.R. §

                     64.1200(d)(4);

                 •   Whether Defendants violated Texas Business and Commerce Code § 302.101

                     by placing unauthorized telemarketer calls to Texans without obtaining

                     necessary certifications;

                 •   Whether Defendants violated Texas Business and Commerce Code § 305.053

                     by engaging in conduct prohibited by the TCPA;

                 •   The measure of damages if Defendants are found to be liable;

                 •   Whether Plaintiffs and members of the Classes are entitled to treble damages

                     based on the knowledge or willfulness of Defendants’ conduct.

         The common claims of Plaintiffs and the Class members that arise from this same course

  of conduct generate several common questions of fact and law, including whether Defendants

  and/or their affiliates, agents, and/or other persons or entities acting on Defendants’ behalf violated

  47 U.S.C. § 227(b)(1)(A)(iii) and (B) by placing calls using an artificial or prerecorded voice

  message to cellular or residential telephone numbers without possessing records of prior express

  written consent. The phone logs of the calls placed to Plaintiffs and Class members will serve as

  common proof in the same manner for each of the Plaintiffs and Class members. These common

  legal and factual issues are capable of proof through common evidence.




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         89.     Superiority: This case is also appropriate for class certification because class

  proceedings are superior to all other available methods for the fair and efficient adjudication of

  this controversy as joinder of all parties is impracticable. The damages suffered by the individual

  members of the Classes will likely be relatively small, especially given the burden and expense of

  individual prosecution of the complex litigation necessitated by Defendants’ actions. Thus, it

  would be virtually impossible for the individual members of the Classes to obtain effective relief

  from Defendants’ misconduct. Even if members of the Classes could sustain such individual

  litigation, it would still not be preferable to a class action, because individual litigation would

  increase the delay and expense to all parties due to the complex legal and factual controversies

  presented in this Complaint. By contrast, a class action presents far fewer management difficulties

  and provides the benefits of a single adjudication, economy of scale, and comprehensive

  supervision by a single Court. Economies of time, effort and expense will be fostered, and

  uniformity of decisions ensured.

                                          COUNT I
             Violation of Telephone Consumer Protection Act, 47 U.S.C. § 227(b)
           (On Behalf of All Monetary Relief Classes and All Injunctive Relief Classes
                                 and Against All Defendants)

         90.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

         91.     Defendants caused telephone calls to be placed to Plaintiffs’ and the Class

  members’ cellular and residential telephones without prior express written consent.

         92.     Defendants’ calls were made for purposes of advertising and marketing

  Defendants’ VSCs.

         93.     The calls were made using an artificial or prerecorded voice message to cellular

  and residential phones of Plaintiffs and the Class members in violation of 47 U.S.C. §

  227(b)(1)(A)(iii) and (B).

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         94.      As a result of their unlawful conduct, Defendants repeatedly invaded the personal

  privacy of Plaintiffs and the Classes, causing them to suffer damages and, under 47 U.S.C. §

  227(b)(3)(B), entitling them to recover $500 in statutory damages for each violation and an

  injunction requiring Defendants to stop their unlawful calling campaigns.

         95.      Defendants made the unlawful calls to Plaintiffs and Class members “willfully”

  and/or “knowingly” under 47 U.S.C. § 227(b)(3)(C).

         96.      If the Court finds that Defendants willfully and/or knowingly violated this

  subsection of the TCPA, the Court may increase the civil fine from $500 to $1500 per violation

  under 47 U.S.C. § 227(b)(3)(C).

         97.      Plaintiffs, Monetary Relief Class members, and Injunctive Relief Class members

  also seek a permanent injunction prohibiting Defendants and their agents from making

  telemarketing solicitations to residential and wireless telephone numbers using artificial or

  prerecorded voice messages without prior express written consent in violation of the TCPA.

                                           COUNT II
                Violation of Telephone Consumer Protection Act, 47 U.S.C. § 227(c)
                 (On Behalf of All Do Not Call Classes and Against All Defendants)

         98.      Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

         99.      The telephone numbers of Plaintiffs and the Do Not Call Class members are

  registered on the Do Not Call Registry and had been for 31 days or more before the Defendants

  placed one or more calls to their Do Not Call-registered phone numbers.

         100.     Morales registered his phone number ending in 2227 on the National Do Not Call

  Registry on December 15, 2008.

         101.     Callier registered his phone number ending in 4604 on the National Do Not Call

  Registry on December 13, 2007.


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         102.      Horton registered his phone number ending in 3341 on the National Do Not Call

  Registry on December 13, 2011.

         103.      Defendants and/or their agents acting with Defendants’ knowledge and on their

  behalf, placed telephone calls to Plaintiffs’ and the Do Not Call Class members’ Do Not Call-

  registered telephone numbers without having their prior express written consent to do so.

         104.      Defendants and/or their agents acting with Defendants’ knowledge and on their

  behalf, placed telephone calls to Plaintiffs’ and the Do Not Call Class members’ Do Not Call-

  registered telephone numbers that failed to identify Defendants and/or their agents.

         105.      The foregoing acts and omissions of Defendants and/or their agents constitute

  violations of the TCPA, 47 U.S.C. § 227(c), by making telemarketing solicitations to residential

  and wireless telephone numbers listed on the Federal Government’s National Do Not Call

  Registry. 47 C.F.R. § 64.1200(c)(2).

         106.      The foregoing acts and omissions of Defendants and/or their agents constitute

  violations of the TCPA, 47 U.S.C. § 227(c), by failing to train personnel engaged in telemarketing

  on the written policies and the existence of the Do Not Call list, in violation of 47 C.F.R. §

  64,1200(d)(2).

         107.      The foregoing acts and omissions of Defendants and/or their agents constitute

  violations of the TCPA, 47 U.S.C. § 227(c), by failing to provide Plaintiffs and Do Not Call Class

  members with the name of the individual caller, the name of the person or entity on whose behalf

  the call is being made, and a telephone number and address at which the person or entity may be

  contacted, in violation of 47 C.F.R. § 64.1200(d)(4).

         108.      Defendants’ calls were made for a commercial purpose.




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         109.    Plaintiffs and Do Not Call Class members are entitled to an award of at least $500

  in damages for each such violation. 47 U.S.C. § 227(c)(5)(B).

         110.    Defendants made the unlawful calls to Plaintiffs and Class members “willfully”

  and/or “knowingly,” and Plaintiffs and Do Not Call Class members are entitled to an award of up

  to $1,500 in damages for each such knowing or willful violation. 47 U.S.C. § 227(c)(5).

         111.    Plaintiffs and Do Not Call Class members also seek a permanent injunction

  prohibiting Defendants and their agents from engaging in the foregoing unlawful conduct.

                                           COUNT III
                    Violation of Texas Business and Commerce Code § 302.101
                                      Texas State TCPA Law
                  (On Behalf of All Texas Subclasses and Against All Defendants)
         112.    Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

         113.    Texas Business and Commerce Code § 302.101 requires telemarketers to obtain a

  registration certificate for the business location from which the solicitation is made.

         114.    Texas Business and Commerce Code § 302.101 states that a person (1) “may not

  make a telephone solicitation” (a) “from a location in [Texas]” or (b) “to a purchaser located in

  [Texas],” (2) “unless the [person] holds a registration certificate for the business location from

  which the telephone solicitation is made.” Tex. Bus. & Comm. Code § 302.101(a).

         115.    Defendants failed to register to place telemarketing calls or have their products sold

  via telemarketing calls in Texas, yet they placed telemarketing solicitation telephone calls to

  Plaintiffs and Texas Subclass members in violation of Texas registration requirements.

         116.    Plaintiffs and Texas Subclass members seek an award of $5,000 per violation

  pursuant to Tex. Bus. & Comm. Code § 302.302(a), as well as their damages for injuries incurred

  as a result of Defendants’ violations of Tex. Bus. & Comm. Code § 302.101(a).




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         117.    Plaintiffs and Texas Subclass members also seek a permanent injunction requiring

  Defendants to cease placing telemarketing calls to residents of Texas.

                                           COUNT IV
                    Violation of Texas Business and Commerce Code § 305.053
                                      Texas State TCPA Law
                  (On Behalf of All Texas Subclasses and Against All Defendants)
         118.    Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

         119.    Texas Bus. & Comm. Code § 305.053 creates a right of action for “a person who

  receives a communication that violates [the TCPA as codified at] 47 U.S.C. Section 227 [or] a

  regulation adopted under that provision . . . against the person who originates the communication.”

  Tex. Bus. & Comm. Code § 305.053(a).

         120.    Defendants’ conduct alleged herein constitutes violations of the TCPA and its

  regulations, including 47 U.S.C. §§ 227(b)(1)(A)(iii), (b)(1)(B), 47 U.S.C. § 227(c), and 47 C.F.R.

  §§ 64.1200(d)(1), (d)(2), (d)(4).

         121.    Plaintiffs are entitled to awards of at least $500 in damages for each such violation,

  pursuant to Tex. Bus. & Comm. Code § 305.053(b)(1).

         122.    Defendants made the unlawful calls to Plaintiffs and Class members “willfully”

  and/or “knowingly,” and Plaintiffs also request that the Court award treble damages based on

  Defendants’ knowing or willful violations, pursuant to Tex. Bus. & Comm. Code § 305.053(c).

         123.    Plaintiffs and Texas Subclass also seek a permanent injunction requiring

  Defendants to cease placing telemarketing calls in violation of the TCPA, its regulations, and

  Texas law.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs KURT MORALES II, BRANDON CALLIER, and LUCAS

  HORTON, individually, and on behalf of the Classes, pray for the following relief:

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         A.      An order certifying the Classes as defined above, appointing Plaintiffs as the Class

  Representatives, and appointing their counsel as Class counsel;

         B.      An order declaring that Defendants’ actions, as set out above, violate the TCPA, its

  regulations, and Texas law;

         C.      An order declaring that Defendants’ actions, as set out above, violate the TCPA, its

  regulations, and Texas law willfully and knowingly;

         D.      An award of actual and/or statutory damages, including enhanced damages and

  penalties for Defendants’ violations committed willfully and knowingly;

         E.      An order enjoining Defendants from placing calls to cellular or residential

  telephone numbers using an artificial or prerecorded voice message for the purpose of advertising,

  promoting, or soliciting the sale of Defendants’ VSCs or any other property, goods, or services,

  unless they maintain documentation evidencing the prior express written consent of the person

  subscribed to the telephone number to which they place the call, and otherwise protecting the

  interests of the Classes;

         F.      An order enjoining Defendants and their authorized sales agents from placing calls

  to telephone numbers listed on the National Do Not Call Registry for the purpose of advertising,

  promoting, or soliciting the sale of Defendants’ VSCs, unless they maintain documentation

  evidencing the prior express written consent of the person subscribed to the telephone number to

  whom they place the call;

         G.      An order enjoining Defendants and their authorized sales agents from placing

  telemarketing calls to residents of Texas;

         H.      An order requiring Defendants to serve a copy of any injunction entered in this case

  on their authorized sales agents and direct them to cease making telephone calls to cellular and


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  residential telephone numbers using artificial or prerecorded voice messages for the purpose of

  advertising, promoting, or soliciting the sale of Defendants’ VSCs, unless they maintain

  documentation evidencing the prior express written consent of the person subscribed to the

  telephone number to which they place the call;

         I.      An award of costs and attorney’s fees; and

         J.      Such other and further relief that the Court deems reasonable and just.

                                           JURY DEMAND
         Plaintiffs request a trial by jury of all claims that can be so tried.


                                                 KURT MORALES II, BRANDON CALLIER, and
                                                 LUCAS HORTON individually, and on behalf of
                                                 all others similarly situated,

                                                 By: /s/ Ian Connor Bifferato                        .
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                                                 Attorneys for Plaintiffs and the Putative Classes
                                                 *Admitted Pro Hac Vice
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                                CERTIFICATE OF SERVICE

        I, Ian Connor Bifferato, hereby certify that on this 15th day of August, 2022, a copy of the
  foregoing Fourth Amended Class Action Complaint was caused to be served on all counsel of
  record via CM/ECF.


                                                     /s/ Ian Connor Bifferato
                                                     Ian Connor Bifferato (#3273)
